Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 1 0120

 

/ Bronx Courlty Civil Court
Civil Judgr'r‘rent

F’|e|ntiff(s): index Number: CV~D42508-111|3X

Bronx Mertrel Arts Ac:edemy dudgment is$u@d; On gewin
vs. On Molion of:
D f d l Kevu|ich & Assoeietes. P.C,

g 911 %HL(J:: 181 Westohester Avenue. Suile 500(.`;. F’on

°WB' '“"` ohe$ter. NY 105?3-
Amouhl claimed $7[]5‘00 ¢ndex plumber FBG $45_00 “}“renscript Fee $D.OO
LESE Paymer\!$ made $0,00 consumer owen Fee $U.CJU county mark Fee $O.UO
Less Coumorcleim OH'se\ $[)_D[] 554-vice Fge $25,(]0 Enforcemeni Fee $4[].00
‘"‘°FES' 93191"2010 al 9% $109.87 Non-Mmrary Fee $D.GD omar mabel-semmes $0.00
A“Om@¥ FWH $U.OD Notioe of ”I`rial Fee $0.00 Other Coe1e $0.0C|
C'DS£ Eiy Stetule $ZO,UD Jury Demand Fee $O.C|U
Tote| Demeges $BM.B? Tote| Costs & Disoursemenls $130.00 Judgmenl Totef $944.87

The following named parties addressed end identified es creditors below:

Pleintiff oredi!or(s) end address

(1) Eronx Mertiel Arts Aoedemy
1051 A||erton l»*`-\\\.'enue, Eironx, NY 10469-

Sheii recover of ihe following perties, addresses and identified es debtors below:

Defendent debtor(s) end address

(1) Howerd White
3208 Tenbroeek Avenue. Bronx. NY 10459~

Judgment entered et the Bronx County Civil Court, 551 Grend Conoourse, Bron><. NY 10451. in the STATE OF NE,W YORK
in the total amount of $944.87 on 10127!2011 at 11:16 AM.

Cl-III"£F CLERK.

Judgrnent sequence 1

 

Cero| A|i. Chief C|erk Clvi| Cor.|d

Pege 1 of 1

Pege 1

Case 1:16-cv-O2134-ALC Document 86-51 Filed 08/18/17 Page 2 0120

 

ClVlL COURT GF` THE CITY OF `NEW YORK 11\11)1:`,.}( NO, 425(18/11
COLJNTY OF BRONX 1"1111_.`~. NCL 14172
........... .,.1.,,. ... x

BRONX MARTIAL ARTS ACADEMY, .1UDGMENT

PLAINTIFF(S)

 

_AGAINST-
eeweeo wm're,
oeFeNDANT(s)

1111/room cLAIM.eo mass 1111/fre on Ar:cr. $'11115.00

111'“1~1::11531 mem 02/01110 Me,:m
3310.75

come BY sTAToTe 1120,00

ses.vlce oF summons AND C<;)M;PLAINT 125.00

FILING OF SUMMONS AND COM`PLAINT 545.01]

PRosPecTrve MARSHM.L'$ Fee $40.00

some oF mower $0.110
MSLQ.Q

TOTAL; 1940.“1:»

311`1‘"'\"1'1':'. OF NEW YORK., COUNTY OF WESTCHESTER!
Tee U'No'eesleeeo, ATT<;)RN);'-;Y AT mw es Tee sTATe 013 New ‘Yom<`, oN eF Tee

ATTORNEY(S) OF RECORD FOR TI'IE PLAlNTIFF(S) 11`~1 THE ABOVE ENT1'1`11.E1:1 ACTION,

STATES THAT THE. DISBURSEME.NTS ABOVE SPECIFIED HAVE. BEEN OR W11_.1_. NE`.CHSSAR[LY

BE MADE 011 11‘11:1.111111.1.1] THEREIN AND AR.H REASONABLE 1111 AMOUNTZ Tl'lAT THE. '1`11\/11*: OF

THE DEFENDANT TO ANSWE.R, THE TIME OF THE DEFENDANT '1`0 APFEAR AND ANSWER 1'11'1‘:1'1.1311"1

HAS EXFIR_ED A'ND T HAT SAlD DEFENDJ-`\NT HAS NOT APPEARED AND ANSWFRED 1113111311"‘~1 T111:.

CAUSE OF AC'HON 11\1 THE WITH].N MAWER ACCR.UE.D 11'\1 111L S'lA 1'1:;01 1\11_.W YORK WHI:RF 1111_‘, S…lAI UTE OF

LIMlTA'IIONS ON 1111 CON",IRACT UPON W1"11C11"[11E AC']ION 13 BASED 13 SIK [6) YE'A _S. '11'11_'. 3111, '.¢

LlMlT AT[ONS HA`S NOI EXP[RED 11'1.1;'.. UNDERSIGNED AFFIR.MS THlS STAT q " ' ""f

uwoera me PENALTIES oF FERJURY /

 
    
 

DA'[`ED: WESTCHESTER, NY ,
OCT`OBER H, 2011 _______ . . _______________
KAVU|.. 1C11 & A__S '

BY: GARYKAVULI.,CH ESQ
JUDGMENT ENTERE['J ON

SERVICE DF SUMMONS AND COMPI..AINT IN 'I`l'llS AC'I`£ON ON THE DEFENDANT(S)

HER_EIN 11AV1NG BEEN COMPI.,I: l"E.D ON AUGUS| 24 201 l

BY 1~`11,11\11`_1 OF SAID DAY OF PROO['" OF TI-IE SERVICE IHEREOF BY SUBST 1'1`1.1131) SERV[CE ON
DEFENDANT(S) AND MORE '1 HAN 30 DAYS I~IAVING ELAPSED SlNCE '1`1-11:. DA":" OF COMPLEI ION
C)F SERVICE AND '1` HE TIME OI` SAID DEFENDAN' l"{S) TO APPEAR AND A`NSWER `l~[AVl`NG EXF']“RED.

Now oN Mo'1‘1o1\1 or KAVULJ<:H e Assocm“res, P.C. A'l“ToRNeY ' , 1 ~: ~
ADJ_UDGED THAT (s) FoR me Pr. AINTI.H (s) 1 r ls,
eRoNx MARTIAI.. ARTS ACADEMY
seemle AT.1051 ALLERTON AveNue eRoNx NY 104159
RECOVER oI-' eowARo meE
seslome Ar. zzosTeNeRor-:ok Avewoe 1111 eRoNx NY104139-5011
I`HF SUM OF 3105 00 WITH INTEREST GI“ 1105 75 MAK!NG A 101111;, 013 3310.75'roe'1';;'r1~1e11

w1Te 1130. 00 coe 1 s AND olseueseMeNTs, AMouNTme 11~1 ALL 1111 11 '
'r~eAT PLAlN 111-11 howe EXECUTION 311ER1;F0R1; 'E SUM OF 5940-75 ANF>

F’ege 2

Case 1:16-cv-O2134-ALC Document 86-51 Filed 08/18/17 Page 3 0120

C1V1L COURT OF '1`1~11?, C-1`1`Y OF NE,"`,W YORK
COUNTY 01*` BRONX

 

131101~1:11 111111"1~11111 1111:1~5 ACADEMY, ` M _ *
vLArm‘u=F(s) AFFmA\/l'r 01 1111;.15
cows“r1<111'1‘11~113 '11-1131:1.11111/1
AGNNST 31-113 mamuur AND me

AMDUNT 1;:)1,1E

HOWARD WHlTE,
DEI-“ENDANT(S}

STATE 013 NEW YORK COUNTY OF wESTcHESTER
55-. GARY KAVULch, ESQ.1»11311.1315Y 1331>0533 ANI;) SAYS uNDER THE PENAL,“HES ci)l'-‘ r>uRJURY.
THAT DEPONENT 13 owe 01T '1'1'11~: ATTORNEYS 13011 1115 PLAIN'HFF($) 111 1"11[-: wl"rl-uw ACTION; '1‘1-113
ACTlON WAS cOMMENCED BY 30135'11"1‘111131) SEvacE. 013 T1-1E SUMMO‘NS ANI;) comm..AINT umw
DEFENDANT(S) 111-11:» 13 1111 ACTlc)N 13011 BREACH 01= AN AGREEMENT 3011 GOOD AND SERVICES
PROVIDED BY P11A11~1T1FF'1~0 DEI=ENDANT, mm AND 121me
(AFTER APPLchTlON 013 PAYMENTS) 111 '11~113 sum 01'= 37115.000

 

ALI,. 011-11311 CAUSES OF A'C"I`1ON AR.E 1-11:`.111':`,13'1' WA|VED AND DISPOSHD. AFTER A COMPLE'I`H AND
THOROUGH lNVESTlGA'I`ION THI":`. DEFENDANT I`S FOUND 1101 'l`O BE 11‘~1 '1`1'115f M1L1'1`ARY AND
RE.SIDES W1T1-11N THE (_."1'1`"‘1’ OF NEW YORK. RESN'I` WAS NOT PAID BY ANY OTHER SOURC‘E._
1 MAKE TI~IIS AFFIRMATION UFON INFORMATION AND BELIEF, A BELIEF PR_EDlCATED UPON
CONVERSATIONS WI'I`l-I MY CL[ENT, MY INVOL.VEMENT 111 THE l’ROCEED1NC1 AND READING d1`1~1E
FILE IN THIS CASE. '1`1-113 CAUSE OI" ACTION IN 'I`l-IE WlT[-llN MATTER ACCR.UIED IN T`HE STATE OF
NEW YORK WH`ER_E '1`1'1.13 STATUTE 1)1”" LIMITATIONS ON A CONTRACT, UFON WI~HCH '1`1-1-' TlC‘)N
15 BASED, 15 SIX (6) YEARS. THE 51 A'I`UTE OF LIMITAT[ONS HAS NOT EXP] : I. ` '
WI-!EREFORE DEPONENT DEMANDS JUDGMEN'I` AGA1NST DEFEN»'//i -,'”' 011$_'105.01 WI'1`1‘1
INTEREST FR.OM FEBRUARY 1, 2010 TOGE'I`HER WITI-I COSTS AND 1315 -d f ‘ ` " ~

11131101~1. 'H'

 
     
      
 
 
      
 

KAVULICH & ASSOCIATES, P.C.
BY: GARY KAVUL].CH, ESQ.

TO '1`11E DEFENDANT(S]: PLY:`.ASE TAK.E NOTICE '1`1-1.AT THE WI’I`I-lI`N IS A '1`RUE COPY OF A
JUDGMENT MADE AND ENTERE.D 11~1 'I`HE W1’1`1-11N ENTITI.,F,D AC'I`lON AND DU 1,‘1’ 1-"`11_.1£1_`) 1N THE
OFFICE OF THE CLER.K OF 'FHE COUNT ON

DATED: WESTCHESTER, NY YOURS, ETC.,
OCTOBER 110, 2011 ATTORNEYS FC)R. Pl#AlN'l"Hl`l"`
S'FATE OF NEW YORK, COUNTY OF SS:
BEING DULY SWORN, DEPOSES AN[) SAYS' THAT DEFGNI:`.N'I" 13 1101 A PARTY TO '1`11F ACTIO
1 ., N
OVER 111 YEARS OF` AGE AND R.ESIDES 111 `1`1~1A'1` O`N DEPONENT SERVED A' 13

TRUE COPY GF T'HE W[THlN JUDGM'ENT AN`D NOTICE 011 ENTRY '1`1-1EREOF (EACH OF) TI~IE
FOLLOWlNG NAMED DEFENDANT(S) AT "1`1--113 ADDRESS(ES) 1.NDICATE`.D (I’OR EACH):

1511 11131>0511"11~1<3 SAME ENCLDSED 111 PC)STPAID PRC)PERLY ADDRESSED wRAp~pER(S) m _A FOST

GFFICE- oFFlclAL DEFOSITORY uNDER THE EXCLUSIVE cARE AND cus ‘ .
STATES POSTA;.. sEvac:E WITHlN NEW mma 5'1'11'1‘13. 1 ODY GF THE UNITED

F’age 3

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 4 of 20

CIV[L COUR.T OF 'I`HE` S'I`A'I‘E OF NIEW YORK

 

cOUNTY OF BRONX
................................................................ ;»<; ;NDE)< N<_'). 42503/: c
BRONX MARTIAL ARTS ACADEMY,
PLAlN’I~II»“r-‘(S) AFFIRMATION c;)F MA!:_.|NG mr
Al;)mTIONAL NO'HCE 011 SUIT
-AGAINST“-
l'IOWARD WHITE.
DEFENDANT(E,)
. m_ ____________________________ X
STATE (JF NEW YORK)

CIOUN'I`Y OF WESTCHHSER) SS:
GARY KAVULICH, ESQ., BEING DU[..'Y' SWORN HEI{.EBY DEPOSES AND SAYS:
1. l AM Tl-IE ATTORNEY FOR 'l`HE l"LAINTlFF(S) HERE}N.

2, TH`I':`. ABOVE ENTIT]_.ED ACT[ON 13 AGAI`NST A NATURAI, PE.RSON AND 13 BASED
UPON NON PAYMENT OF A CON'I`RACT[_FAL O`BL`IGA'I"ION.

3. ON ?fZl/l l, I MAII_.ED A COPY OF THE SUMMONS AND COMPLAINT IN THE ABGVE
ENTITLED ACT]ON BY DEFOSI'I`ING THI:". ENVELOPE IN AN OFFICIAL DEPOSITORY UNDER
THE EXCLUS[VE CARE. AND CUSTODY OF THE U.S. POSTAL SERVICE WITI*H`N NEW YORK
S“I`A'I`E.. SAID MAII`_.l'NG WAS BY FIRST CLASS MAIL. lN A POSTPAID ENVELOI"'E, FROPERLY
ADDR_ESSED TO THE DE["`ENDAN"I`(S), ”l`l'~l`E ENVEI,OPE BORE 'TH!§.` L,HGEND

“FERSONAL &. CONFIDENTIAL” AND THERE WAS NO I`NDICATEON ON "I"HI`:` UU'I`SIDE OF THE
ENVEL.OPE THAT TPIE COMMUNICATION WAS FROM AN AT'I`ORNEY OR CON'C`ERNED AN
SAKEGED DEBT. AT DEFENDANT(S):

“- --~LAST KNOWN ADDRESS AT: HC\WARD WI-I`I'I`E: 320$ TENBROECK AVENUE, PI-I,
BRONX, NY 10469-5011

-“-~~~PLACE OF EMFLOYMENT AT:

'[`HE ENVELGPE BORE THE L.EGI."'§ND “PERBONAL & CONFIDENTIAL“ ANI`J THE.RE
WAS NO I`NDICAT!ON ON THE OUFI`SIDE OF TI~I`E ENVELOPE THAT THE
COMMUNICATION WAS FROM AN ATTORNE.Y OR CONC}ERNED AN ALLEGED DEB"!".

------- A K`NOWN ADDRESS OF 'lf`H]:'i DEFENDANT AT!

'I`HIS AIDDRESS 15 NOT TH`E RESIDENCE OR PLACE Ol*` EMF’LOYMENT OF THE
DEFENDANT.

YAFOREMENTIONED MAlLING:

~~~~~ HAS NDT BEEN RETURNHD UNDEI,IVERABLE BY PCJSTAL SER ` ll

    
   
      

~»~~WWAS RETUR`NED UNDELIVERABLE BY POSTAL SI"£RVICE
DEFENDANT AT:

..-_-\._ - \F
/.

?

GARY KAVUL!CH, ESQ.

Page 4

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 5 0fl20

CWIL COURT OF "1`1-11;` CITY OF NEW YORK

 

COUNTY 017 BRONX .
_____________________________________________________________ X I_ndex NO. 42508/1 1
`BRONX MARTIAL, ARTS ACA[)EMY_. li`ile No. 14172
Plaintiii`i",
AFFIDAVIT OF FACTS
"1§€111131“ W
AMO i.l`l\l"i` 1311 13
i-IDWARD WHITE,
Del"endant.
_____________________________________________________________ X
State oi`New Yorl~c)
ss:

County of Bronx )
Doug Pelinl<ovic, being duly sworn, swears under the pains and penalties ot` perjury:

1. That I arn the Principal of the Plainti'f`i" and, as such, have personal knowledge
of the issues involved in this casc.

2. That among my duties, but not limited to thern, are overseeing membership
issues including payments of inetnbcrs’ dues,

3. That the Dci"endant signed a contract with the .l’iaintil"t` to, inter alia, use
PlaintifF s gynt facilities and thatl the Dei`endant breached his/her contract by
not paying the dues owed under that contract

4. Thal the Dcfendant’s breach is continuing in that neither s/he nor any other
source has paid the amount due.
5. "l`]iat the Dei`endant owes the l”lainlil`lj` $705.00 pl

us interest front February 1_,
2010 plus costs pursuant to that contract

  
 
 

WHEREP`ORE, Plaintiff demands judgment against the Del"cndant in the .
$705.00 with interest from Fehrtiary 1, 2010 together w` '
this action

  

Dated: October 13, 2011 _ '»5"~"{'\ d \
DO\% P€iinkovie

  

 

Wot y Publ c KAVULL'H

east
N_etAaYPusuc-sntsot=tswteat

seems 5
nineteen wsstcatsttzsceunrr
m commission assessments

  
 

F’age 5

    

 

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 6 of 20

C`.IVII_. CE{JUR'I` C)F 'l`llE Cl'l`\r' OF NF.W YDR['\“
CGUNTY OF BRONX

______________________________________________________________ X
BRONX MAR‘I'!AL Att'['s At;‘;ADEMY, index No. ¢lzaf)ti/t l
I-`iie No. 111172
Plaintit`t`,
seen amending
lNV.liS'l'l(jA‘l'OR
t-towa o \vt-trre,
‘SSS'F
Dei`endant(s).
------------ ....."......,......__________________,_r.._.m...__,_.,,,_,,__j»;
STATE OF NEW YORK )
]55§.:

COUN'I`Y Ol'~` WESTCHESTER )

1 am over 18 years ot`age, am not a party to this action and reside in Westchest.er Cuunty,
Stale of`New Yorl-c.

l have been requested by K.avulich etc Associates, P.C. attorney’s l'or the l’laintil"l, to make
an investigation to ascertain ifthe Defendant lrloward White, is at the present
time in military service for the purpose of entry ofjuclgment.

On Detober 12, 201 l, I Denise Miranda, contacted the Det`ense manpower L`Jatc Center
concerning the iJet`cndant Hewarcl White‘s military status

I inputted the Det`endant's name and social security number, as provided by thc Dcfcndant
itimfherself`, into the Dei`ense Mattpower Data Center.

1_|nder the Det`endant’s social security number 1 received nn al`i`idn `
Manpower Data Centcr stating that the said Det`endaut is net t
service ct'the Unitecl $tates and the State ot` New 'r’orl< (Nat’ -»

rom thc Dci`ense
n the military

    
 
  

izeiiise Miranda

 
  
  

S\vorn to before
12"‘ day oi" 0

N ry I~"ublic

Ciary Kavulich

Netary Public- State et`New York
No. 02KA6205615

Qualificd in Wcstchester County
My Coinmission [-l><pircs 05/1 1/2013

Page 6

W"c;ase -16-cv-02134-ALC Doe_uméni_aé`lel i=iled 03/18/17 Pa e 7 of 20
_ for Mlll.tary tatui§ . _ g lyngc l Ui._';l

lapartment ct'Deiciise Manpewer oat-s center oei-i 2201 i ins i rci

  

_ l\flilitary Status Report
Fursuant to the Service I\/iembers Civil itelief`i\ct

 

”_*{. Last . . Serviee
Flrst/Mtddlc Bcgin I)nte Active Duty Status Active Duty lind \[)ate A__ggncy

 

 

 

 

Based on the information you have furnishcd, the Dl\/IDC does not possess

WHITE I-IC)WARD . . . . . t ..
any tnformatlon indicating the individual status

 

 

 

 

 

Upou searching the information data banks ol`lhc Departmcnt of Del`ense Manpower i)ata C.`.entcr, based
on the information that you providcd, the above is the current status of the individual as to all branches
of the Unifottned Services (Army, Navy, lviarine Corps, Air Force, l"lOA./'\1 PlellC H€Hlihi find (-#9331
Guard).

hewitt Mt,»»£%~

Mary M. Snavely-Dixon, Director

l")epartment of Defense » Manpower Data Centcr
1600 Wilson Blvd., Suite 400

Arlington, VA 22209-2593

 

The Defense lvlanpower l`,)ata Center (DM`DC) is an organization of the Depaitment of Defense that
maintains the Defense Enrollmeut and Eligibility Reporting System (DEERS) database which is the
official source of data on eligibility for military medical care and other eligibility systems.

The DoD strongly supports the enforcement of the Scrvice Membcrs Civil Relief Act (50 USC App. §§
501 ct seq, as amended) (SCR.A) (l`ormerly known as the Soidiers' and Sailors' Civil Reliet` Act of 1940).
DMDC has issued hundreds of thousands of "docs not possess any information indicating that the
individual is currently on active duty" responses, and has experienced a small error ratc. in thc event the
individual referenced above, or any family member, friend, or representative asserts in any manner that
the individual is on active duty, or is otherwise entitled to the protections of the SCRA, you are strongly
encouraged to obtain further verification of the person's status by contacting that person's Service via the
"dei`cnselinlt.mil" URL http://nnvw.deienselinlt.nili/f"aqi'pigi'_l’€ti€i$i`lsi]R.html_. if you have evidence the
person is on active duty and you fail to obtain this additional Servicc vcritication, punitive provisions ot`
the SCRA may be invoked against you. See 50 USC App. §521(c).

 

If you obtain additional information about the person (e.g., an SSN, improved accuracy ofDOB, a
middle name), you can submit your request again at this Web site and we will provide a new certificate

for that query.

This response reflects active duty status including date the individual was last on active duty, il` it was
within the preceding 367 days. For historical infoi'inatioit, please contact the Service SCRA points~ol`-
contact.

https://w\ivw.dindc.osd.niil/appj/scrafpopreport.do ll:f)il 652'(?)1 1

 

 

dc fomasarydtsisivisozls¢t-ALC Doc'u‘meni 86-51 i=iled 03/18/17 Page 3 of`é`d`“`_`"" ’""""""
` l’i:igc 12 ot`2

forginfnrmation on "A¢;-znie D_.,¢_l, S,m_iusii

AG{iVC duty Sm“;: as reported ln'llliS C€t‘titicate is defined in accordance with 10 USC § 101 (d}( 1) for '-i
period of i§otet an 30 consecutive days. in tire case ot`a member ol`the l\lational Guard includes l ii
service up er a call to active service authorized by tlie tiresident or the Sccretaiy ot` Deti;nse for a period
Of more t mn 30 COUS¢C'LIUW days under 32 USC § 502(f) for purposes of responding to a national
emergency declared lif§’ the Pf€Stdet'it and supported by Federal l`unds. All Activc Ciuard Reserve (AGR)
.mcmbers must be 3531§»“@‘?1_ against an authorized mobilization position in the tiriit they support 'l`his
mciudes Navy T,ARS= Mam“: CW-*DS ARS and Coast Guard R`PAs. Active l)uty status also applies to a
Utiifomied Set'viee member who is an active duty commissioned officer of the U.S. Public I--lealth

Set“_t!iee ortho Nattorral Oceanic and Attitosplieric Administration (NOAA Cornmissioned CGFPS) fm il
period of more than 30 consecutive days.

Covcragc Ui‘ider the SCRA is Brond'er iii Sr.iiiie C'ris'es

Coveragc under the SCRA is broader in some cases and includes some categories of persons on active
duty for purposes of the SCRA who would not bc reported as on Activc Duty under this certificate

lvlany times orders are amended to extend the period of active duty, which would extend SClitA
protections Pcrsons seeking to rely on this webslte certification should check to make sure the orders on
which SC.RA protections are based have not been amended to extend the inclusive dates of service
Furtliertrior'e, some protections of the SCRA may extend to persons who have received orders to report
for active duty or to be inducted, but who have not actually begun active duty or actually reported for
inductionl Thc Last Date on Active I`.‘)uty entry is important because a number of protections of SCRA
extend beyond the last dates of active duty.

’l`hose Who would rely on this certificate are urged to seek qualified legal counsel to ensure that all rights
guaranteed to Sei'vice members under the SCRA are protected

WARN]NG: This certificate was provided based on a name and SSN provided by the requestcr.
Providing an erroneous name or SSN will cause an erroneous certificate to be provided
Report ID:5N9644AKD6

https://wwwrdmdc.osd.rnil/appjfscra/popreport.do P?S/€l §/201 1

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 9 of 20

ciinJ coe air orr 'ri-ia ci"rv or uaw

county or .aaoiv)< xi OM attica iva
circuit i\»iAa'riAL ware Acanaiav, X t tie Ne. 141 72
y 5-
P lainti l` 1", "-`E"‘££P iii-iri
-against-
I’lace of Venue is designated
HOWARD Wl-IITE, as Plaintii"f`s" lilace of
Busincss:
1051 Aller'tori Avenue
Defendant. l?»rons, NY 10469

_________________________________________________________________ X
To the above married De'fendarrt(s):

YOU ARE HEREBY SUMMONED to appear in the C,‘IVIL CO`Ul`t"l` OF THE CITY Oli`
NEW YC)RK, CC)UNTY OF BRONX attire office of the Clerlr of the strict Court at 851
Cirand Concourse, Bronx, NY 10451 to answer the complaint in this action and to serve a
copy of your answer, or, ii" the complaint is not served with tire surnnrons, to serve a
notice oi` appearance on the i’laintiff"s attorney within (20) days after the service of this
sunrmons, exclusive of the day of service or within 30 days after the service in complete
if this summons is not personally delivered to you within the Statc of`New Yorlr; and in

case of your failure to appear or answer, judgment will be taken against you by default
for the relief demanded in the complaint

  

 

._ E P ny; omit ivt. it'ptiitea..irr§. “
.. At‘tor'ncy ll`or' Plairrtiff
N 2 o 20“ Kavulich dc Associates, P.C.
‘N 181 Wcstchestcr Ave., Suite 500C
CIVR COUR'I` tenn sss-2074

Def`endant’s Add.ress: OUTY
I~ioward White BRQNX C

3203 Tenbroeclc Avenue, PH
Broror,NY 10469-5011

Dated: June 9_. 2011

   

l\lotc: The law provides tliat: (a) If the summons is served by its delivery to you perqonany

within the City of New York, you must appear and answer within TWENTY days after pugh

se_rvice; or (b) It` the summons is served by any means other than personal delivery to you
within the City of` New York, you must appear and answer within THi`R"l"Y d

service thereof is filed with the Clerlc of this Conrt. zin aher proof of

Page 9

 

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 10 of 20

C()`M`I’LA`INT

FIRST ltdlt('§*ll.`].()l`~l: Plaintiff` seeks to recover damages from the `Del`endant for breach of
cotttte€i 111 111€ 511111`0'1 3705,00 together with costs and disbursements of this action find
for such other and further relief as the Court may deem jttsti.

M Plaintiff seeks to recover damages from the Defendant for goods
and services provided by Plaintiff to Det`endant iii the sum of$705.00 together with costs

and disbursements of this action and for such other and further relief as the Court may
dcci'n_`iust.

THIRD ACTION: lilaintiff seeks to recover damages front the Def¢odfmi lle 11'11_’~131
enrichment in the sum of 53705.00 together with costs and disbursements of this action
and for such other and further relief as the Couit may deem just.

FOURTH ACTION: Plaintiff seeks to recover damages in the amount of 3705.00 from
the Defendant for account stated as the aforesaid sum has been duly demanded and has

gone unpaid, together with costs and disbursements of this action and for such other and
further relief as the Court may deem just.

FIFTI-I ACT{ON: Plainti'f`f seeks to recover damages from the Defeiidant in the sum of

3705.00 in quantum meruit together with costs and disbursements of this action and for
such other and further relief as the Court may deem just.

SIX'I`H ACTION: Plaintiff seeks to recover damages from the .Def'endants in the sum of

$232.65 representing reasonable attorney’s fees together with costs and disbursements of
this action and for such other further relief as the Court may deem just.

WHEREF()RE: Plaintiff demands judgment (A) on the First Action in the sum of
$705.00 pitts interest from liebruary l, 2010, together tvith costs and disbursements of
this action and for such other and further relief as the Court may deem just; (13) on the
Second Action in the sum of $7'05.00 plus interest from february 1, 2010_, together with
costs and disbursements of this action and for such other and further relief as the C(mrt
may deem 1“$13 (C) 011 the Thil‘d Action iii the sain of $705.00 plus interest from
FCbl”UHl`y 11 2010,102@111€11'\1\11£11 costs and disbursements of this action and for pugh other
and further relief as the Court may deem just; (D) on the Fourth Action in rho gum of
$705'00 PI“S interest from F¢bl"~l€\l'.i' 11 3010, tog'sli`lcr with costs and disbursements of
this action and for such other and further relief as the Court may deem just (E) 011` th

Fifth Action in the sum of` $705.00 plus interest from leebmary 1 2010 whether W_t§
COStS and diSbUI`S@m€HlS of this action and for such other and furtffer relief as the Cofirt

may deem just. (F) on the Fifth notion in the stan of $232.65 plus interest from Febm,u.
1, 2010, together with costs and disbursements of this action and f`oll mich mh c §
further relief as the Court may deem jngt_ er an

Page 10

/ Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 11 of 20

civii. count or rita cirv or uaw ironsL ` WC'!"'

COUNTY C)F BRONX hides No. 42508!1 l

Filcd: ___m_
Attcrneys: Kavulich dc Associates, P.C.

Address: 30 Church Street, Suite 26, New Rochelie, NY 10801

 

ITile No. l4172
B.RONX MAR'['LAL AR\TS ACADEMY,
vs.
HOWARD WHITE.
State of New Yorlc County ofNassau SS:
Aston G. Evan l`, being duly sworn deposes and says:

Deponent is not a partyt herein, is over iii years ot`age. On Jul),_r l, 201 t at 3:16p.m,

At: 3208 'I`en_proeck Aventte. PH. Broi_pt. NY 10469-501i served the within Surnnions and Coinplaiat
on'. HOWARD W`HITE, Defendant therin named

lndividtlai By delivering a true copy of each to said recipient deponent knew the person

[] served to be the person described as said person therein.

Corporation By delivering to and leaving with

M and that deponent knew the

[ ] person so served and authorized to accept service on behalf of the Corporation l
"i-»--"\ r'\-.:I
Suitable Age By delivering a true copy of each to a person of suitable age and discretion l * §§
Person Said premises is recipients [ ] actual place of business [X] dwelling house within the F:J:
[X] gmte. ;._: l """

' B affixin a true copy of each to the door of said premises which _is recipients _

i;&l;}:;|rg fbi actual [giiaee of business [] dwelling house (p[ace ofabode) within the state j,_,_..

ll

i '"‘7’
tr

tilt-

L

co
~ y 1 de nent corn ieted service under the last two sections by ca
Mmlj?]opy g:pii;liti:glaodompy t:i}t?the Sttmmri)ns and C`omplaint to the above address in a lsil c:’
l Class properly addressed envelope marked “Personai and t”lontidential” in an official
depository under the exclusive care and custody ofthe United States Post Oflice m the State
of New York.

Deponent was unablc, with due diligence to find the recipient or a person of suitable age
and discretion having called thereat:

Ort the day of at
On the day of at
On the day ot` at

prescription A description of the Det"endant1 or other person served on behalf of the Defendartt
{`] Sex; M Color ot` skin: Li§ Color of l'lairM Age: M i~ieight;_§_;_l__tlweight; 21 l BS

Militmy gv¢€ Deponent asked person spoken to whether the recipient was presently in military
[ X ] service of the United States Governnient or of the State ofl‘~lew York and was

informed that the recipient is M. Recipient wore civilian clothes and no military uniform
Ctther

  
 

{x]”m]m Do“ . ted that the Defendant is not in the military.

Swom to -"!'-. - - this;day of 7 ‘“*//'

 
  

Kst(iri C‘i/ lidans 'ii V a
LIC# 1220069
Mid,»'-\'

_ . M §?i'\r
Cii.i_,.*,.
(_;JT \_ v

 

f

. ."s,_.l

.[`.i». ?,L. e'. i'i'.L-"so‘s raid

a o 1
C_n.»ni-uu.t~i ¢.il»-.'¢r\ |.:fi~ir `F_c"’_/ y

 

 

Page 11

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 12 of 20

 

.,,.,._.;w»~--‘~
Civil Court of the City of New Yc)rk Index Numher ‘{,i§c>g’ /:/
County of El@]/=/,lf) MC\!iOn CB]. # Motion Seq. .# ‘_ m _“_

 

' P-m ;‘/
DECIS!ON/ORDER

Re.c`\r,anon\ as rtqmrcd by CF'LR §1;'19{.\}‘0¢'\]1¢ mom
considered in r.hr. r=vr¢:w ofmis Monon'

r

FFFW f’/»ymé»¢l /5’/?/:” Ars/pm/
Pnper: Number:d
Claimam(s)fPlaintiE(s`)/Petitioner(s) mm emotion and Amdavics mmmd .........

agcum!

 

finder m Show Causc md AH'ldaviLs An.ncx¢d .....

 

,»\nsw¢ring, Af}'idav'rl$ ..............................
M»M,M/( L/l,/;L mprying Amdaviu .................................
E::hih|`u, ............................................

Def€:ndam($}/Respnndent{s) comer ................................................ _u

 

Upomhefmgoing¢ir¢d papers.thenecisi¢n/c)rdemn umw zi/Z/¢~" fr ri.,»)z/’
/4&&_7_ 52¢,'2:..;; w,,¢;,;§,r .//,¢‘ di fiton \%fr&/W.£_m/_% isasfnlmws;
MM¢/C, ¢'~/ r,»%s;~% 75 ,¢-4_ £,w/;q/F 7%'¢ hit awr¢,y,»~;z‘~
if 1/»¢=¢»,@¢< »~»A QF,W./q A,/é“ reaffirm ,¢,»:\'M.JrI:~/¢§.;/zih /;M,,<
`Hf¢/H F<.';‘ /IJ¢¢'.-*:.¢/( FEFH¢{ /5'»»’( F»/fy(,

 

70..,»»»£ w ¢-.<z»£,,»d,//C F.»¢»/z `7/ /lé>/\"""` b
P:~\ l<.~»\\\ £Yr§r¢.r§rz \€)-\ §m¢ Mc<jnq\ A¢-§@$cs §w:x';&
M-QB;¢‘}¥’&SL$VM\ d\_**~:'-»c:gm,u~(qm wi Ch#<mqu,:f ;gj

 

 

 

 

 

 

 

 

 

 

 

 

 

‘F:."‘“R.;:\)
7¢1)',§# C'-¢"-"¢"{;‘§%AA fw 7£'4‘( di(C/,(';)/N/ /6’5('('/" ¢g$'"°"
yL¢,/r' m,,/e:,¢
W
,;EP`=H*EREB
mem com
l':MT 2 g ?ms
ClWi C[)m
Uzm$wew Y¢,rk _“__w ,-»#“/'{
5%2?® /f; C_~\>… :l`.
haw mdg¢. aim com ‘
‘ .-_.,)
a z l ‘ ` " " § *
5 § 1 : § GMGANNA
' MHQ=’§Q@“HH“

 

ClV-GF‘\I! ll.rv»m` wm lW‘I\

 

 

 

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 13 of 20

 

 

 

 

as1 rs 5

j ot‘r
givil C¢mrt ortho Ctty orNew Yorl-t \1dex Nurnber: CV- 041508 lt/B\
C“"“*Ye“"°“* ij 111 1111111||11|1||1|1111111|1|111|||1
Brom~: Hart;ial Ar"t:s academy {)RDER TO SHO‘»V CAUSPI

jago ins t ~ To vacate the defendants det`:tn!t, and any
Howa rci Whlte jndgment, lift restraints and exeetttiotts, order
restitution and dismiss or stay the action t`or 90

days or restore to the ealender or allow n
proposed answer

 

UPON the annexed affidavit of l-l`oward White, sworn to on Mareh 31, 2015, and upon all papers and proceedings herein:

Let the Plaintii`t`(s) or Piaintit’t`{s) attorney(s) show cause at:

Bronx Civil Cotlt't
851 Grand Conet)urse
Brottx,NY10451

Pat't 34(§ - Rootn 504
nn /7,@{;`/ “f…' <.:?O/.S_m at 9:31]."\\1\/1
or as soon thereafter ns counsel may be heard why an order should not be made granting any ofthe following reliet as the

court deems appropriate:
Vaeating the defendants default and anyjudgntent, liftingl restraints and exeetttions, ordering restitution or dismissing or

staying the action l`or 90 days or restoring the action to the ealendnr or allowing a proposed answer

PENDING the hearing of this Order to Show Cause and the entry ot` an Order thereon, let all proceedings on the part ot the
Platntil"l`(s), Plaintif"t`(s) attorney(s) and agent(s) and any Marshal or Slterifi` of` the City ot`New York. l"or the enlori.entent oi` s1

ludgtnent be stayed

SERVICE ofa copy of this Order to Sbow Cause, and annexed Af`{idavit, upon tlte:
Plaintift`(s) or named attorney(s): Sheritt` or Marshal:
(Judge to Initial

(Judge to Initial)
by Personal Serviee by " in Hand Delivery" Y Personal Serviee by " 1a i-iand Delivery"
513-iq by Certit`ted Maii, Retnrn Reeeipt i{eqnested 943 ' by Certii"ted Mail, Retnrn Receipt Requested
by 1 irst Class Mail with official I”ost Ofiiee by I"irst Ciass Mail with official Post Ot"f"tee
Certificate of Mailing

Cert ifi te of Mailin%' 5 ___
on or before f /]f`r / 917 .F>?O/~c-§ , shall be deemed good and stit`iieient

 
 
 
 

 

  

 

Pnooe on soon seamen may ss nice was ass cta-k in nw esa §§
indicated above on the return date of this Dt'tler' to S!tow Cause. §
..._"_'; .
Msil fe A“<§r_nsy s_r early everitt/mahan r\l
.r'- ' " ‘ '=WM*" M`arshal ofthe City ot`NeW York '1
Biegel, $tepben, Marsltal § s!`
lddvula ab 9 nssaaisis-s 9<: 535§55999 s_;-,- 5;-; 55
13 l +t,:: sd 1-da£5~ber Five.mo.e! Nisark, air 1001 3-3615 ¢`i¥ `"'
(_.Lt é’_ 555£'.,
or““"i'G-l’\- E,‘!"*d,l"` N `f 1623 73
arch 31, 2015£ M
DA'[`I§ Ir'ion. Donald A. Miles, Civil Co rt lodge (NYC)

99595 99 999

SEPH ‘-CAPEM F’aga 13

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 14 of 20

ClVlb COURT OF THE ClTY OF NEW YORK

 

CDUNTY OF BRONX index No. 42508-11
_ AFF|DAV!T |N BUPPORT OF AN
bronx martial arts academy, ORDER TO SHOW CAUSE
F'lsmtirf. T,;, Va¢atn a Judgment For Faiture
. to Answer
*~ against -
- _MmLs.ran.eresat
Howard Whlte. 3203 tenbroeck avc
Defendant,

bronx, NY, '10469
State of New Yori<, County of Bron>t ss.:

HOWARD WH|TE, being duly sworn, deposes and says:

1. l am a defendant and l am making this request in support of the Ordar to Show
Cause to vacate a default jucig;jmt=,»ntl and dismiss this case for lack of personal
jurisdiction pursuant to GPLF<’. 5015(a)(4).

2. The court lacks personal jurisdiction because the Surnrnons and Compiaint vvere not
served proparly, Hollo dodge l never received any mailings from this business or
phone ca||s. | asked them after i had paid for my son to go to a introductory class
that he did not Want to come back. 'l'he monies l paid to them Were never returned
and the lady that works for bronx Martia| arts Academy assured me that she had
taken care of the paper work. l got sued for money that they never returned to me
and my son never want back to that place not even one time.

3. Altsrnativoly, the defauit judgment should be vacated pursuant to CF*LR 5015(a)(“l)
and the case restored to the calendar and the attached Proposed Answer deemed
timely filed

4. 1 did not file an answer to the Complaint with the court because of the following
excusable default

a. | never received the court papers

Affidavit in Suppcrt of an Order to Show Cause to Vacata a Defau|t .Judgrnent

_ 'Pago 1 of 3
Made using the NYS Courts FREE D|Y Forms

F’age 14

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 15 of 20

b. As l stated before in my other answer no papers were ever sent to me and

the charge on my credit cards for my son going to there school after |
cancelled with them was never returned ljust found out about this
yesterday as my job notified me that some masha|is office had sent in
papers to them on 3/26/2015. This is real extortion and i will bring a law
suit against them as there steaiing honest peoples monies l have also

reported them to the better business bureu.

5. l have the following meritorious defense(s):

E`t.

b.

l do not owe the money.

The contract is unfair (unconscionable).

The F’iaintiff has been unjustly enriched

Violation of the duty of good faith and fair dealing

res the F’lentifi should have returned all monies taken off my credit card
because my son never went back to there school after the introductory
class. l canceiled my son coming back there and the lady assured me
that the monies would be sent back onto my card `i“his did not happen. l
will bring a civil suit against them for pain and suffering and also for

making me loose money after having to take time off from my job to come

take care ofthis.

6. t went to tell the judge the following: Hel|o .Judge its not up to you l know to stop

businesses like this but i will fight the fight against this company for if they did this to

me how many other families may have gone through this but did riot know how to go

Aftidavit in Support of en Order to Show Ceuse to Vacate a Defauit Judgrnent

 

Pege 2 of3
Page 15

Ntade using the NYS Courts FREE D|Y Forms

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 16 of 20

about fighting the injustice that is associated with this businessl l tried to do

something for my child and it has now turned into a nightmare
7. l receive veteran's benefits, which are exempt from collection

8. l have not asked for a previous Order to Show Cause in this case

9. Niy salary has been garnished lam employed at GompuCom Systerns_

Relief

10.WHEREFORE, | request that the judge vacate anyjudgment, lift any and all

restraints and executions, order restitution, and upon vacatur, dismiss this case for

lack cf personal jurisdiction, or in the alternative, deem the attached Proposed

Answer timely filed restore the case to the caiendar, grant me permission to serve

these papers myself, and grant me such other ayurther r lW be lust.

l-loward white. Defendent

z £+
Sworn to before me this 11 day
of M&mA , 20 /$F.

Notary Public or Court i”.,“ierk

Affidavit in Support of en C)rder to Show Cause to Vacate a Default ..ludgment
Made using the NYS Courts FREE D|‘r' Forn'is

Page 3 of 3

Page 16

 

tow

Case 1: 16- --Cv -0-2134 ALC Document 86- 51 Filed 08/18/17 Page 17 of 20
`Cl\/it. COURT OF THE Cl`l"r' C)F NEW YORK

 

COUNTY OF BRONX lndex No. 42503-11

bronx martiat arts ac d
;fa?r:gfif" PRoi=oseb ANswen consumes

' CRED|T TRANSACT|ON
- a ain t-
Q 5 |vlovant*s addrews_s_:

Howard White, 3208 tenbroeck ave

Defendant. bronx NY' 10469

 

HDWARD WH|TE, answers the Complaint as foi|ows:

1. General Denial: l.deny the allegations of the Complaint.

2. l do not owe the money.

3. The contract is unfair (unconscionabie).

4. The F’laintiff has been unjustly enriched

5. Violation of the duty of good faith and fair dealing

6. Yes the P|antiff should have returned all monies taken off my credit card because
my son never went back to there school after the introductory class. l cancelled my
son corning back there and the lady assured me that the monies would be sent back
onto my card This did not happen. lwi|i bring a civil suit against them for pain and
suffering and also for making me loose money after having to take time off from rny
job to come take care of this.

7. l receive veteran's benefits, which are exempt from collectionl

S. l have the fo|iowing ccunterc|aim(s): l want all back all monies paid to them off my
credit card as my son never went back to there schooi l aslo want any monies
already taken out my check. l also want my days pay for having to come hereto
take care of something that they promised me was taken care of. after ali these
years l am now going through this garbage as the only converstaion in relationship

to this was taken by me. l believe this company to be unjust and unfair to eople and

iwili fight them to the end l em seeking $2,126.92.

F‘roposed Answer v Ccnsumer Credit 'i“ransactlon

_ Page ‘i of2
Mada using the NYS Courts FREE DIY Forms

Page 17

__a..__¢..__`__,.___--

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 18 of 20

VERIP‘|CATION
abate of New York, county of Bronx ss.:

HOWARD \Nl-ll`l`E, being duly sworn, deposes and says; l am the Defendant in this

actifl>n. | have read the Proposed Answer Ccnsumer Credit Transaction and know the
contents to be true to my own knowledge except for those matters alleged tc be on

information and belief1 and as to those matters, l believe them to be true./g»

rae/a:</

l-ldviii'a"rd white1 Defendant

.Ji.
Swornto before mathis ;§! g day
of /M§/z?/( .cc /Y__

/%;.,Jsa aisz

n`é'iery eubiic er court cent

Proposed Answer- Consi.imer Credit Transaction . Page 2 of 2
Made using the NYS Courts FREE DIY Forn'is

Page 18

 

 

Case 1:16-cv-02134-ALC Document 86-51 Filed 08/18/17 Page 19 of 20

me ®mwnm w mo H baum

dee 25 .__o owe _a:eo=woa=eu ash embedded soo h Euehm caou ee_,:e.§ air escape
co enhance E:oo Hm=mmvo mnv_omeoo .._H poneEo.HE he momamoom oE acres E:opmm Eom$ .Ed mmp m m m nw__.m fmc .*o mm condoned detachedwa muuumo.“ touch EHE.

spasm M_£._,w nomom._ad .t.DE.-:oZ moo:oaoa_om tom - _ M com

m~nm___m:m¢ HooEoo.€€ unewoo_ou~m® .;u=um ;a.c.w womod.=£ found tm _§n_ omni ._.EE.-:oZ voucomoa_om r__om - _ w com

Eomeou_ =o eBEcU HthoEooEG ..EQ , based

on ahead i..EoEmoE ooaoe._.., - a…$ :onoE decades ,Eaaeeeu accrued nomeew. _Eem:§ oos=omo&om how - accused massachuon . wm cea
m Em_c\ Ev.m deems meachum n?wanoEO

urme . ceased co Ea=am . oma&mo£. concede - § geneva because .ooE:m=oU - samme eo.eomuudom..:om - e:o:oe..~ accounted - uaw rem
m amadeo see sees

isaacsan ,NEQ - seemed co seamen - Ee.omo£ pause - _HE newsome amended .Eamc§ ooshao&ow_ hom - eeo_aoE _Eeeooo& - wm ted

mnmmo__w___omn
mEEH._HQ

a ceases
a aaa a se

m_cm..a:__$.c

 

of

boise wheel 5a com come .H._ouo:oaoudom .:o@ comm deemed

u_E__.»._, newsom cum room each .EoEmoE. n:£o_m a ecause ou :>EoE.a. i tim

_…o._§wcm.aw mcnamara Joowoou_ co EE.ED .mmnm._.._m_m`_mnw UoEooQ Hmm~m~m .t.:_m loosech o_ E::mn~ - EoEmn_:m

beech _,.Mumom dach messer ha sam comm .m$w__a,__i:wm nfthth §QOme u…$o_ag snow .H com edmund boom co cumuqu ae:oE
m M_£mo_m e© o.§e=eaU owc£ o§ vacuum hoped cum a.._... mEmE¢._`m.n co ooaoeo._.

"aMcanM embedded eom:aommm_m the oaaommcuu. .EEB sheer nmu ME.E.EUD ._.~Eooeo.ac mud §ng eeoom E…? z_,ico:ooau ,Fi _ ENEGE_E
bessemer MEEM ._ Smm.m_§ beam oob~am .wm_eemm uo=oEmnE mSo._. ,m EHPN___E hamm mach ,_ com .¢:oEmeE. oma£om$ EoEm_oE.
mEoeeo.a~ mud nassau mecom n&_ ram send .;oanE H:_HBEoU_ cce m:oEE=m

M,

umw

m ENEEEG
m 5th 565

md ¢m___ w m.__mm

_ Emo`__.imo§ _
m E.mu__cmo__ec

 

seas t_,z seem ease decade some - eis ee..,e: §

es canada a_ a dues az cease esa dea esa ......eese. assess § . us cascade a cease
___~Eonao.a. mcf _e:._oE e:oom EW

o:n_ avoided Eo:o{.,mo havom:e.rw

§§ nae>.,oww abroad
uiw:eo=o.“o_.,.._ weco:o©

IQNENEG

as m...,mU

_.HEoceod_ ama HE§E annum HME Tmowm§-?d
§Em.ememd ooch zth _.:EEU spasm

 

maxim
_x_oneo£n..mm_w__
drum comm
noonth noan

.,.“onm.s:_..¢. edward

..H.m:c…w

 

 

 

